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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

 IN RE:                              )                Chapter 7
                                     )
 REILLY-BENTON COMPANY, INC.         )                Case No. 17-12870
                                     )
 DEBTOR                              )                Section A
 ____________________________________)

                                    PROTECTIVE ORDER

        Upon good cause shown, the Court orders that all “Confidential Information”, attached to

 the Roussel & Clement Creditors’ Motion for Summary Judgment that the Proceeds of the

 Insurance Policies Issued by Liberty Mutual Insurance Company and Employer’s Mutual Fire

 Insurance Company to Reilly-Benton Company, Inc. Covering Reilly-Renton Company, Inc.’s

 Contracting Activities Are Not Property of the Estate and their Motion for Summary Judgment

 That the Automatic Stay Does Not Apply to Liberty Mutual Insurance Company and Employer’s

 Mutual Fire Insurance Company, be subject to the following:

        1.     “Confidential Information,” as defined herein, shall be subject to this Protective

               Order.

        2.     For the purposes of this order, “Confidential Information” means Exhibit 3, the

               Affidavit of Fred Wiedmann, and Exhibit 4, the Affidavit of Renee Butalla, to the

               Roussel & Clement Creditors’ Motion for Summary Judgment that the Proceeds

               of the Insurance Policies Issued by Liberty Mutual Insurance Company and

               Employer’s Mutual Fire Insurance Company to Reilly-Benton Company, Inc.

               Covering Reilly-Renton Company, Inc.’s Contracting Activities Are Not Property

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             of the Estate and their Motion for Summary Judgment That the Automatic Stay

             Does Not Apply to Liberty Mutual Insurance Company and Employer’s Mutual

             Fire Insurance Company. These documents will be marked as “Confidential -

             Subject to Protective Order”;

       3.    The Parties agree that the Confidential Information shall, except as herein

             otherwise provided, remain at all times in the possession of counsel of record for

             the Party receiving the Confidential Information.

       4.    This Protective Order shall be applicable both during the pendency of this

             bankruptcy case and after final resolution of this bankruptcy case.

       5.    Counsel and the Parties receiving the Confidential Information shall not make

             more copies of such material than are reasonably necessary for the handling of this

             action. All copies of the Confidential Information, shall be kept and stored in

             manner reasonably calculated to preserve their confidentiality.

       6.    The Confidential Information may be disclosed to or viewed by the Parties and

             Objectors; counsel of record for the Parties and Objectors and counsel’s staff; the

             Parties reinsurers, retrocessionaires, auditors, and regulators, experts in this

             litigation; the judge and her staff; deponents and court reporters taking depositions

             herein, to the extent that the deponent is questioned about the Confidential

             Information; and witnesses at trial, to the extent that they are questioned about the

             Confidential Information. The Confidential Information may not be disclosed to

             or viewed by any other person unless the Confidential Information is introduced

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             into evidence in the above-captioned action.

       7.    In the event a Party desires to allow viewing of the Confidential Information by

             any person not authorized to see it hereunder, that Party shall first obtain the

             written consent of the Party who produced the Confidential Information. In the

             event such consent is not given, the Confidential Information shall not be shown

             to any person unless the Party shall have first obtained a court order permitting

             such disclosure.

       8.    This Protective Order shall not operate as a bar to any Party offering any part of

             the Confidential Information into evidence/or into the record, if admissible, at any

             hearing or trial in this matter, or from making inquiries about the information in a

             deposition taken in this matter and attaching said Confidential Information as an

             exhibit to the deposition. If the Confidential Information is included or the

             contents are in any way disclosed in any pleadings, motions, depositions,

             transcript, or other paper filed with the Court in this lawsuit, such Confidential

             Information shall be filed under seal.

       9.    Any portion of a deposition containing or referring to the Confidential

             Information shall also be subject to this Protective Order. Only those pages of

             such deposition shall be marked “Confidential - Subject to the Protective Order of

             Court,” and those portions containing the Confidential Information shall be

             maintained separately, and disclosed and used only pursuant to the terms of this

             Order.

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       10.    Before any of the Confidential Information is disclosed to the requesting Party, the

              Parties reinsurers, retrocessionaires, auditors, and regulators, experts, or any

              deponents, he or she shall agree to be bound by this Protective Order.

       11.    The Confidential Information shall be used solely for the purposes of this

              bankruptcy case and for no other purpose whatsoever. Such Confidential

              Information shall not be communicated or disclosed to any person not authorized

              by this order to view it.


       New Orleans, Louisiana, this ____ day of _____________, 2022.




                                             Bankruptcy Judge Meredith S. Grabill




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